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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MPR/RCH/ER/PP                                     271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  December 4, 2020

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

                The parties respectfully submit this status update to the Court in the above-
captioned matter in advance of the conference scheduled to proceed by video on December 7,
2020 at 9 a.m. The parties respectfully request that the Court schedule the next status
conference in approximately 60 days. The parties agree that an order of excludable delay is
appropriate until the next status conference, based on the Court’s previous complex case
designation in this matter and Administrative Order 2020-26 (excluding time in all criminal
jury trials until January 19, 2021, in light of the ongoing COVID-19 pandemic).

    Discovery

          o The government continues the process of collecting and reviewing discovery for
            production to the defendant on a rolling basis. Following the parties’ last status
            letter on October 2, 2020, the government made an additional discovery
            production on November 6, 2020, totaling more than 760,000 pages of
            documents.

          o The November 6 production largely consisted of information downloaded from
            the defendant’s electronic devices, which the government previously produced
            in February 2020, but reproduced in its latest production in a different format.
            (As noted in the parties’ previous status letter, see Dkt. No. 52, the defense
            informed the government that the data was not in a format that it could access;
            the government subsequently worked with a third-party vendor to convert the
            data into a different format, which it then produced.) The production also
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           included, among other things, ledgers; business, financial, property and public
           records; Mutual Legal Assistance Treaty (“MLAT”) requests and responses;
           recorded communications; photos and video evidence. See Dkt. No. 53.

        o The government also is awaiting responses from outstanding subpoenas,
          including subpoenas to the defendant and his companies. In addition, the
          government has submitted MLAT requests for evidence in the possession of
          several foreign governments. Although the government has received some
          responsive information, it is awaiting additional MLAT responses.

        o To date, the government has produced more than 955,000 pages of documents,
          as well as voluminous intercepted communications. The government has
          produced the majority of the discoverable material in its possession. It expects
          to make smaller productions on a rolling basis as it receives additional
          discoverable materials and/or identifies such material in its possession. It
          expects to make its next production, consisting primarily of MLAT and
          subpoena responses that it recently received, in the coming weeks.

        o On December 1, 2020, the government moved to delay disclosure of certain
          discoverable material related to certain potential witnesses in this case. See Dkt.
          Nos. 54-55.

   Trial Preparation

        o The parties continue to face delays in preparing for trial in this case in light of
          the pandemic, including limitations on the government’s ability to meet with
          incarcerated witnesses and limitations on defense counsel’s ability to meet with
          the defendant.

   CIPA

        o The government has been able to resume its review of materials needed to
          complete litigation in this matter pursuant to the Classified Information
          Procedures Act, 18 U.S.C. App. 3, §§ 1-16 (“CIPA”), in this case, although it
          continues to face pandemic-related limitations. The government expects that
          the necessary steps to complete CIPA litigation will take several more months.
          The government will file its motion for a pretrial conference pursuant to Section




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            2 of CIPA, once it has a better sense of the anticipated schedule for completing
            CIPA litigation.


                                                Respectfully submitted,

                                                SETH D. DuCHARME
                                                Acting United States Attorney

                                         By:      /s/
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cc:   Cesar de Castro, Esq.
      Clerk of the Court (BMC) (by ECF)




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